Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 1 of 36




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:16-cv-02425-KLM


   DOMINIC GENE VARGAS, ELIZABETH ANN VARGAS, AND JOHN ADAM
   VARGAS,

   Plaintiffs,

   vs.

   FISHER SCIENTIFIC COMPANY, L.L.C., a Delaware Limited Liability Company,

   and

   AQUAPHOENIX SCIENTIFIC, INC., a Pennsylvania Corporation,

   Defendants.



                  AMENDED COMPLAINT IN TORT FOR DAMAGES



           Plaintiffs, Dominic Gene Vargas, Elizabeth Ann Vargas, and John Adam

   Vargas, by and through their attorney, James A. Cederberg of Cederberg Law

   Firm, P.C., state for their Amended Complaint in Tort for Damages:

                           GENERAL ALLEGATIONS

    1.      On or about September 14, 2015, at or about 8:00 a.m., the plaintiff

    Dominic Gene Vargas was a student at Strive Preparatory SMART Academy at

    3201 West Arizona Avenue in Denver, Colorado. At the said time and place,

    Dominic Vargas suffered severe burns when he was struck by burning methanol


                                            1
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 2 of 36




    from a 4.0 liter plastic bottle of Lab Grade Methanol with the brand name “Fisher

    Science Education,” catalog item number S25426A.

    2.     The date of birth of Dominic Gene Vargas is November 16, 1997. At the

    time he was injured, the plaintiff Dominic Gene Vargas was a minor. He has

    since reached the age of majority.

   3.      The plaintiff Elizabeth Ann Vargas is the mother of Dominic Gene Vargas.

   4.      The plaintiff John Adam Vargas is the father of Dominic Gene Vargas.

   5.      Under Colorado law, the parents of a minor are legally responsible for

   the medical expenses of their minor child, and are therefore entitled to recover

   medical expenses incurred on behalf of their minor child from a tortfeasor that

   caused the child’s injuries. Accordingly, plaintiffs Elizabeth Ann Vargas and

   John Adam Vargas bring their claim for medical expenses and related

   expenses incurred on behalf of their son, Dominic Gene Vargas.

   6.      The said 4-liter bottle of methanol was manufactured, fabricated and

   packaged and sold by the defendant AquaPhoenix Scientific, Inc. for marketing,

   distribution and sale by the defendant Fisher Scientific Company, L.L.C.

   7.      Defendant AquaPhoenix Scientific, Inc. is a Pennsylvania corporation.

   8.      The said 4-liter bottle of methanol was manufactured within the meaning

   of Colorado Revised Statute 13-21-401, marketed and sold by the defendant

   Fisher Scientific Company, L.L.C.

   9.      Defendant Fisher Scientific Company, L.L.C., is a Delaware corporation

   authorized to do business in, and doing business in Colorado, with a facility in

   Denver, Colorado.


                                            2
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 3 of 36




   10.     Upon information and belief as described in the facts alleged above,

   defendant Fisher Scientific Company, L.L.C. is the corporate entity responsible

   for the condition of the 4-liter bottle of Lab Grade Methanol that is the subject of

   this claim.

   11.     Also upon information and belief, defendant Fisher Scientific Company,

   L.L.C. is the corporate entity that conducts business under the brand name

   Fisher Science Education.

   12.     Fisher Science Education, from all reasonably available public

   information, is not a corporate entity, but is merely a brand name used by

   defendant Fisher Scientific Company, L.L.C.

   13.     The subject bottle of methanol was designed, specified, marketed and

   distributed as a product for classroom use by the defendant Fisher Scientific

   Company, L.L.C. Specifications by Fisher Scientific Company, L.L.C. included

   the packaging without a flame arrestor.

   14.     The defendant Fisher Scientific Company, L.L.C. sold products to schools

   throughout the United States, including in Colorado.

   15.     The defendant AquaPhoenix Scientific, Inc. manufactured, fabricated,

   processed, packaged, and labeled products for the defendant Fisher Scientific

   Company, L.L.C., including the subject bottle of methanol for distribution and sale

   throughout the United States, including in Colorado.

   16.     The subject bottle of methanol was included in school laboratory supplies

   sold on or about June 6, 2014 pursuant to Fisher Scientific Invoice Number

   7664677 to Strive Preparatory SMART Academy, hereinafter “Strive Prep.”


                                             3
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 4 of 36




   17.     The purchase was made on behalf of Strive Prep in Colorado, by Alberto

   Rodriguez. Alberto Rodriguez had no expertise in laboratory or classroom

   chemicals and was placing the order pursuant to his duties to procure various

   supplies and items for the operation of Strive Prep.

   18.     The contents of the Strive Prep purchase order were generated by use of

   a service provided on the Fisher Scientific web site known as Lab Outfitter.

   19.     The Fisher Scientific Lab Outfitter service worked as follows. The

   customer is prompted to enter the general subject of the class being taught, for

   example “high school chemistry”, and the number of students. The Lab Outfitter

   function then generates a recommended list of supplies.

   20.     The vast majority of the items purchased by Strive Prep pursuant to

   Fisher Scientific Invoice Number 7664677, including the 4-liter bottle of methanol,

   were on the list recommended by the Fisher Scientific Lab Outfitter program.

   21.     Methanol is a highly volatile and extremely hazardous substance. Its

   hazardous characteristics include, but are not limited to, its flashpoint and the

   range of its explosive limits when its vapor mixes with air, and the volume of

   vapor that it produces the rate at which it vaporizes, and the fact that the vapor is

   heavier than air.

   22.     According to the defendants, the subject methanol has a flash point of

   12°C (53.6°F), an evaporation rate of 5.2, Vapor Density of 1.11, and explosion

   limits of Upper 31.00%/Lower 6.0%.

   23.     Because of these physical properties, methanol is more volatile and

   ignites more readily than other comparable substances with which a user may be


                                             4
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 5 of 36




   familiar, such as petroleum-based fire starter liquids.

   24.     Methanol is also more volatile than certain other volatile substances

   sometimes found in consumer products, including ethanol.

   25.     One of the hazardous and dangerous aspects of methanol of which

   consumers and users are generally unaware is its propensity for vapors to readily

   ignite and for the ignition to travel rapidly to the source of the vapor.

   26.     In the case of a plastic bottle of methanol, when the vapor ignites, the fire

   or explosion travels instantly to the bottle, immediately pressurizing the bottle and

   causing burning methanol to spew violently from the bottle in a “flame thrower”

   effect over distances of several meters.

   27.     This effect of the hazardous properties of methanol is also generally

   unknown to and unexpected by users and consumers.

   28.     In September of 2014, and for more than 15 years before 2014, the

   status of science teachers’ safety training was such that a total absence or lack

   of safety training for science teachers was widespread in America’s schools.

   29.     Prior to September of 2014, laboratory safety advocates, teachers’

   organizations and others identified and reported, in published studies, publicity

   campaigns, articles and interviews, a glaring and widespread lack of safety

   training among high school teachers. Many of these public statements were

   made or issued in the context of reaction to classroom methanol fires

   substantially similar to that which injured the plaintiff Dominic Gene Vargas on

   September 15, 2014.

   30.     Scholarly studies published in 2006 and before reported that, in the vast


                                              5
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 6 of 36




   majority of states, there were no requirements whatsoever that high school

   science teachers undergo any laboratory safety training, and that where any

   requirements did exist, they were frequently inadequate.

   31.     For at least 15 years prior to September 15, 2014, scholarly articles and

   informed commentary by laboratory safety experts identified, both wittingly and

   unwittingly, several causes for laboratory injuries in general, and methanol

   injuries in particular, including but not limited to: lack of laboratory safety training

   in colleges where teachers are educated; lack of requirements for laboratory

   safety training for teachers; lack of funding and teachers’ time for lab safety

   training where such training is offered; trends toward more entertaining or “wow

   factor” activities in teaching science; lack of funding for necessary safety

   equipment; deployment of teachers into science classes who are either not

   trained in the particular field, e.g. chemistry, or not trained in science at all; and a

   culture of lack of understanding of how to conduct a system safety analysis or

   identify and eliminate or minimize hazards, or to adequately assess risks versus

   benefits.

   32.     The information described in paragraphs 39 through 42, above, appeared

   repeatedly in multiple credible and reliable sources that were and are sources

   that a reasonable person or entity concerned with school laboratory safety or

   introduction of hazardous chemicals such as methanol into classrooms should

   read and be familiar with, including the defendants.

    33.    Teachers in high school classrooms, including science classrooms,

   constantly face innumerable inherent distractions, including long learning curves



                                               6
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 7 of 36




   for new teachers or new subjects, lack of preparation or clean up time,

   inconvenience and issues associated with interruptions of the task at hand during

   class, and student behavior, both good and bad. Student enthusiasm and

   engagement, and teacher enthusiasm and desire to be engaging, can and do

   distract from attention to safety.

   34.     Prior to September 15, 2014, the hazards and extreme danger of

   methanol in school classrooms and the foreseeability of teacher use or misuse of

   methanol had been demonstrated over and over again in numerous tragic

   incidents that caused serious and catastrophic injuries to students and which

   were widely reported in the popular media and in education and chemical

   industry publications. These prior incidents were substantially similar to the

   September 15, 2014 methanol fire that injured Dominic Gene Vargas on

   September 15, 2014. These incidents, in chronological order, include, but are not

   limited to:

           a)    On November 25, 1998, a methanol cannon exploded and burned

   three students at Hart High School in Newhall, California. One student suffered

   third-degree burns over 35% of his body, including his hands, face, arms, chest,

   shoulder and face. This incident was reported in the Los Angeles Times on

   November 29, 1998.

           b)    On August 31, 1999, at East Bakersfield High School in

   Bakersfield, California, a small quantity of methanol in a 5-gallon glass bottle

   ignited, shot out flame and exploded, shooting glass around the room and

   sending 23 people to the hospital. This incident was reported in the Los Angeles



                                             7
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 8 of 36




   Times, and by the Associated Press, on September 1, 1999 “Methanol Blast in

   Class Sends 23 to Hospital.”

          c)     On November 24, 1999, at Waverly High School in Delta Township,

   Michigan, methanol exploded during a teacher demonstration and caused

   severe, disfiguring burns to student Christine Jurus. This incident was reported in

   The Argus Press on November 27, 1999 and by the Associated Press on

   December 2, 1999, “Student Recovering Group Suggests Better Safety in

   Science.”

          d)     On January 28, 2000, at Lakeview High School in Battle Creek,

   Michigan, a teacher was pouring methanol into a petri dish with some chemical

   salts when the methanol ignited and injured 1 teacher and 4 students, including

   Autumn Burton, who suffered severe disfiguring burns. According to the Battle

   Creek Police Department Report, the teacher stated: “I was conducting an

   approved chemical demonstration that involves using methanol/wood alcohol and

   small of amounts of chemical salts”… “for the students to see what colors are

   generated by the experiment.” The teacher had performed this demonstration

   possibly 20 times before without a single incident. As he was closing the

   container of methanol, there was a flash up (fireball) that went from his

   demonstration desk out and into the first and second rows of the classroom. The

   teacher believed the incident may have occurred because he had the methanol

   container open too long, allowing a vaporous cloud to form and come into contact

   with the flame source on his demonstration desk. This incident was reported in

   the Argus Press on January 29, 2000 and discussed in the Washington Post on



                                            8
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 9 of 36




   July 14, 2002, “School Lab Incidents Not Rare in US”, among other publications.

           e)    On October 11, 2001, at Genoa-Kingston High School in Genoa,

   Illinois, methyl alcohol (methanol) ignited and burned students who were several

   feet away from the source. Methanol was being poured from a gallon jug when

   the fire occurred. Seven students were burned, including one who was in critical

   condition. This incident was reported in the Chicago Tribune on October 12, 2001

   “7 Students Burned in Chemistry Class”; and the Daily Herald, Arlington Heights,

   IL, and On October 12, 2001 in the Daily Chronicle, DeKalb, IL. It was also

   discussed in an Associated Press article, “Chemistry Labs Scenes of Accidents,”

   in the Amarillo Globe News, among other publications, on July 7, 2002.

           f)    On March 11, 2002, at New Berlin West High School in New Berlin,

   Wisconsin, a teacher combined chlorides with methyl alcohol (methanol) in a

   series of pie tins before lighting each one. A flash erupted from one of the pans,

   sending a fireball hurtling into the audience. 4 students were injured. This

   incident was reported in an article “Chemistry Experiments and Students

   Sometimes Don’t Mix” in the Milwaukee Journal Sentinel on July 27, 2002.

           g)    On January 30, 2004, at Federal Way High School in Federal Way,

   Washington, a science teacher was demonstrating how different metals and

   chemicals produce multi-colored flames. The teacher didn’t realize the methanol

   in one beaker had already been ignited, because burning methanol produces

   nearly invisible flames. When she poured more methanol into the container there

   was an explosion and fire spread to the first two rows of desks. The teacher and

   two students were injured. One of the students suffered third-degree burns to his



                                            9
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 10 of 36




    head, face, arms, and hands. This incident was reported in “4 Injured in Federal

    Way High School Chemistry Lab Fire,” KOMO News Network, January 30, 2004,

    in the Seattle Times, “Federal Way Students Aid Teacher after Science Lab

    Explosion”, January 31, 2004, and in other media reports.

           h)    On June 17, 2005 at Huntington Beach High School in Huntington

    Beach, California, an experiment using methanol exploded and burned two

    students, including severe disfiguring burns to Brian Cross. The incident was

    reported in the Huntington Beach Independent, June 23, 2005 (“Fire in Chem

    Class); the Los Angeles Times, June 18, 2005, (“Teens Burned in Chem Lab

    Fire”), and The Orange County Register, October 13, 2005 (“District, Teacher

    Sued Over Burns”).

           i)    On January 23, 2006, at Western Reserve Academy in Hudson,

    Ohio, the teacher was performing a “rainbow flame test.” The flame in one of the

    ignited dishes began to diminish and the teacher poured additional methanol

    onto it from a gallon-size container. The flame flashed back into the container

    and produced a flamethrower effect. Two students were severely burned. One of

    those students, Calais Weber, now known as Calais Weber Biery, suffered

    severe disfiguring burns and later became an advocate for classroom safety and

    abolition of the “rainbow demonstration.” She was featured in a video produced

    by the United States Chemical Safety Board”, “After the Rainbow”, released

    December 10, 2013, and featured on the website of by the defendants’

    competitor, Flinn Scientific. This incident has been reported and discussed in

    numerous articles and publications, including, The Cleveland Plain Dealer,



                                            10
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 11 of 36




    January 27, 2008, “Burned Alive: Survivors’ Story of the Western Reserve

    Academy Lab Accident”, and SciLogs International, October 4, 2011, “From

    Good-Looking to Beautiful: Calais Weber’s Story of Tragedy and Triumph”.

           j)    On June 7, 2007, at Schroeder High School in Webster, New York,

    a teacher was demonstrating a “flame test” experiment consisting of putting

    chemicals into dishes, pouring methanol on them and lighting the contents, when

    a fire erupted. A student, Kristen Laird, suffered third-degree burns on her arms,

    face and back. This incident was reported in the Democrat Chronicle, Rochester,

    NY, August 31, 2007 (“Suit for School Lab Accident Spurs Training Program.”)

           k)    On March 10, 2010, at St. Marcellinus Secondary School in

    Mississauga, Ontario, Canada, a teacher was holding a one-liter beaker of

    methanol when the methanol suddenly ignited from a nearby flame. The teacher

    dropped the container, scattering flames onto students in the front row. Five

    students and the teacher were injured. The incident was reported in the

    Mississauga News in articles appearing March 10, 11, 12, and 22, 2010.

           l)    On October 26, 2011, at Kerr Middle School in Del City, Oklahoma,

    a teacher was performing a flame color demonstration when methanol ignited.

    One student was injured. This incident was reported in The Oklahoman on

    November 2, 2011, and on Oklahoma News 9 on October 28, 2011.

           m)    On November 30, 2011, at Hazeley Academy in Milton Keynes,

    Buckinghamshire, England, a teacher was rehearsing a demonstration when a

    fire ball erupted and burned the teacher and the six-year-old son of a fellow

    teacher. The incident was reported in The Daily Mail, December 1, 2011,


                                            11
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 12 of 36




    “Science Teacher Sets Self on Fire and Burns Face of Boy, Six, after ‘Routine’

    Experiment Goes Wrong”.

             n)   On December 1, 2011, at Maple Grove Junior High School in Maple

    Grove, Minnesota, a teacher was demonstrating experiments using methanol in a

    large plastic bottle when the vapor ignited. A student, Dane Neuberger, was

    severely burned. The incident was reported on CBS Minnesota on December 2,

    2011 and in the Star Tribune on December 1, 2011, and the Sun Post on June 1,

    2012 and other media reports.

             o) On March 19, 2012, at Reedsburg Area High School in Reedsburg,

    Wisconsin, an experiment showing that salt and methanol make different colored

    flames caused a bigger flash than usual. The fireball traveled more than six feet.

    Three students and a teacher were burned. The incident was reported in

    WiscNews on March 21, 2012, “Students, Teacher Hurt in School Fire.”

             p)   On April 12, 2012, at Mililani High School in Mililani, Hawaii, a

    teacher was conducting an experiment with methanol when a flash explosion

    happened in a boy’s face. The incident was reported in the Honolulu Star

    Adertiser, April 12, 2012, “Student Injured in Minor Chemical Explosion at Mililani

    High.”

             q)   On April 26, 2012, at Soule Road Middle School in Liverpool, New

    York, a veteran eighth-grade science teacher was teaching 22 students about the

    combustibility of methanol when the experiment he was performing exploded.

    The incident was reported on Syracuse.com on April 27, 2012, “Two Agencies

    Investigating Soule Road Middle School Explosion.”


                                             12
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 13 of 36




            r)    On November 28, 2012, at Wilson Middle School in Carlisle,

    Pennsylvania, a teacher attempted to smother a fire in a beaker by pouring

    isopropyl alcohol into the beaker. Fire shot out of the beaker, injuring seven

    students. The incident was reported in Pennlive.com on December 1, 2012,

    “Wilson Middle School Fire: Pennsylvania Law Doesn’t Set Lab Safety

    Standards”; and in The Sentinel (Carlisle, PA) on January 23, 2013, “Fire Chief

    Releases Investigation Results of Wilson Middle School Fire.”

            s)    On June 17, 2013, at the Myth Busters Science Camp at St.

    Scholastica Academy in Covington, Louisiana, students were conducting an

    experiment using alcohol as a heat source. Something went wrong, triggering an

    alcohol flash fire, injuring two students. This incident was reported in

    NOLA.com/The Times Picayune, on June 18, 2013, “Boys Burned During

    Experiment at Covington Science Camp Remain Hospitalized.”

            t)    On September 9, 2013, at Roach Middle School in Frisco, Texas,

    an experiment burning salts involving strontium chloride, methyl alcohol, and a

    lighter resulted in a small flash fire that injured two students and one teacher.

    The incident was reported on September 9, 2013 by WFAA.com, “Frisco

    Students Hospitalized after Science Experiment Catches Fire.”

            u)    On October 3, 2013, at Chapel Hill High School in Douglasville,

    Georgia, a group of students, supervised by a teacher, was demonstrating

    identification of chemicals by the color of their flame when methanol dispensed

    from the container unexpectedly fast and ignited, catching a 12th grade female

    student on fire, The incident was reported in The Atlanta Journal Constitution on


                                             13
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 14 of 36




    October 4, 2013, “Teen Set on Fire Expected to Fully Recover; “on CBS 46 on

    October 4, 2013, “Douglas County Student Catches Fire in School Accident,” and

    in other media reports.

            v)    On November 12, 2013, at La Joya Community High School in

    Avondale, Arizona, a chemical experiment using different chemicals to produce

    different color flames went awry, injuring four students and a teacher. The

    Avondale Fire and Medical Incident Report refers to the flammable liquid as ethyl

    alcohol. The incident was reported on VPHO on November 12, 2013 “1 Student

    Released, 1 Still Hospitalized after Science Blast.”

            w)    On November 25, 2013, at Lincoln Park High School in Chicago,

    Illinois, a teacher was performing ignition of elements in a chemistry class. When

    a sample of cobalt in a petri dish did not ignite with a match, the teacher poured

    methanol over the cobalt and the match, and an explosion occurred. Five

    students were injured, one seriously. The incident was reported in Courthouse

    News Service on April 14, 2014, “Chemistry Experiment Set Girl on Fire; and on

    DNAinfo Chicago on April 17, 2014, “Lincoln Park High School Chem Lab Fire

    Leads to Lawsuit.”

            x)    On January 2, 2014, at the Beacon School in Manhattan, New

    York, a teacher was performing the Rainbow Flame Test. The teacher poured

    methanol from a gallon container onto four petri dishes that had been aflame

    moments earlier. A fireball injured two students, one severely. The incident and

    its aftermath were reported in the New York Times on January 3, 2014. “School

    Experiment that Burned Boy was Focus of Federal Warning;” The New York Post



                                             14
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 15 of 36




    on January 2, 2014, “Two High School Kids Burned in Lab Accident;” The New

    York Daily News on February 10, 2014, “Beacon School Chemistry Teacher

    Removed from Classroom After In-Class Experiment Injured 2 Students,” in the

    Royal Society of Chemistry”, rsc.org, on January 8, 2014, Exploding Demo

    Injures Chemistry Students”, and in numerous other media reports.

    Listings of media reports concerning the incidents in this paragraph 45 are by

    way of example and are not intended to be complete or exhaustive.

    35.    The above incidents and reports all occurred prior to the sale of the

    subject methanol by the defendants to Strive Prep.

    36.    The reported similar incidents listed in paragraph 45, above, demonstrate

    individually and in combination: 1) that methanol is extremely dangerous in high

    school classrooms and similar settings; 2) that teacher use of methanol in the

    presence of flames or ignition sources, including pouring methanol from a gallon-

    sized container on an ignition source, was reasonably foreseeable and was, in

    fact, known to have occurred; 3) that whatever other efforts by safety-oriented

    organizations and others were occurring to attempt to keep students safe in the

    presence of methanol in classrooms, these efforts were unsuccessful and

    inadequate to abate the hazard presented by methanol, and 4) that the

    environment in high schools and middle schools into which methanol was being

    sold was an environment in which tragic and life-altering injuries to students were

    repeatedly occurring from exposure to methanol.

    37.    The incidents listed in paragraph 45, above, and the media and scholarly

    reporting and commentary concerning the incidents was such that a reasonable


                                            15
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 16 of 36




    manufacturer or distributor of methanol for use in school classes knew or should

    have known of these incidents.

    38.     At all material times, there was and is no systematic or comprehensive

    reporting system for classroom incidents like methanol explosions or fires, either

    on a national level in the United States or on a state level in any state.

    39.     At all material times, it was and is believed by agencies responsible for

    gathering or receiving information concerning incidents causing injuries to

    consumers, such as the Unites States Consumer Product Safety Commission,

    that such incidents are drastically underreported.

    40.     At all material times, it was and is believed by the Laboratory Safety

    Institute, a leading organization dedicated to improving laboratory safety in the

    United States, that laboratory accidents are significantly underreported.

    41.     It is likely, and a person or entity with reasonable expertise in the use of

    chemicals in school classrooms should have known that the similar incidents

    listed in paragraph 45, above are a subset of all such incidents, and that it is

    likely there were many additional such incidents that were not reported.

    42.     In addition to the reports of individual incidents involving serious injuries

    to students associated with the use of methanol in classrooms, prior to June 6,

    2014, there were numerous reports in the popular press, in science and

    chemistry education journals and blogs, and in warnings and press releases from

    a governmental agency that methanol in classrooms presented a serious and on-

    going hazard to students and teachers.

    43.     The items described in the preceding paragraph included, but were not


                                              16
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 17 of 36




    limited to, the following, listed in chronological order:

            a)    July 7, 2002, article by Tammy Webber of The Associated Press,
                  “Mishaps in School Labs Reveal Lack of Safety”. This article was
                  published in multiple media sources including Los Angeles Times,
                  The Charlotte Observer, the Amarillo Glove-News, and others.

            b)    July 26, 2002 article by Amy Hetzner, Milwaukee Journal Sentinel,
                  “Chemistry Experiments and Students Sometimes Don’t Mix: New
                  Berlin West Accident One of Many Nationwide in which Youngsters
                  are Hurt.”

            c)    October 29, 2004, National Science Teachers Association, NSTA
                  Web News Digest, Science Scope: Scope on Safety:
                  “Chemicals: What’s in? What’s Out?; stating that certain
                  chemicals, including methanol, should be removed from
                  middle school science labs or storerooms due to their
                  hazardous nature.

            d)    August 29, 2005, National Science Teachers Association, NSTA
                  Web News Digest, “Flame Tests Performed Safely.”

            e)    June 24, 2006 Article by Marilyn Miller, Akron Beacon Journal,
                  reported in Healthy Schools Network, NewsSlice, June 2006, “Burn
                  Victims Support Methanol Ban in Class: Chemistry Accident
                  Survivors Urge Teachers to Stop Using Dangerous Chemical in Lab
                  Tests.”

            f)    July 2007, National Science Teachers Association Position
                  Statement, “Liability of Science Educators for Laboratory Safety.”

            g)    2008, Flinn Scientific, Publication No. 10497, “Methyl Alcohol
                  Safety.”

            h)    June 13, 2011, American Chemical Society, Chemical and
                  Engineering News, Safety Zone Blog, letter from Robert H. Hill, Jr.

            i)    Undated, National Science Teachers Association, “Safe Handling of
                  Alcohol in the Laboratory.”

            j)    January 2013, Publication of the Methanol Institute, Methanol Safe
                  Handling Practices, Chapter 8, Section 8.1, Overview of Methanol
                  Incidents, showing, despite incomplete reporting, disproportionate
                  number of methanol incidents and injuries occurring in schools.

            k)    On December 10, 2013, the United States Chemical Safety Board

                                               17
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 18 of 36




                   released a video, “After the Rainbow.” www.scb.gov.

           l)      January 3, 2014, United States Chemical Safety Board Press
                   Release, “Statement from CSB Chairperson Rafael Moure Eraso
                   on High School Laboratory Fire in New York City.”

           m)      January 3, 2014, Chemjobber blog, “Another Accident with the
                   “Rainbow Flame Experiment.”

           n)      January 5, 2014, The Laboratorium blog, “Don’t Try This at School.”

           o)      January 6, 2014, NSTA blog, Kenneth Roy, “Lab Incident at a
                   Manhattan High School: Another Hard Safety Lesson to Learn.”

           p)      January 7, 2014, Jyllian Kemsley, American Chemical Society,
                   Chemical and Engineering News, The Safety Zone, “Performing the
                   “Rainbow” Flame Test Demo Safety.”

           q)      January 20, 2014, A. Maureen Roukl, American Chemical Society,
                   Chemical and Engineering News. “Safety First.”

           r)      March 17, 2014, American Chemical Society, Chemical and
                   Engineering News, “Safety Alert: The Rainbow Demonstration.”

    These articles, blog entries and press releases are representative and are not

    complete or exhaustive.

    44.    Defendants either were aware or in the exercise of reasonable care and

    in discharge of their duty to be knowledgeable concerning the expected and

    foreseeable uses of their product, should have been aware of the articles, blog

    entries and press releases listed in paragraph 54, above, or the substance of

    those items.

    45.    For many years prior to, and up to and including 2014, it was widely

    known and recognized in the education, teaching, and science safety community

    that, for reasons and circumstances including those outlined in paragraphs 39

    through 42, above, safety training, education, knowledge and practice was


                                            18
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 19 of 36




    inadequate and lacking in the science teacher community and in schools. Articles

    and publications reflecting this knowledge and recognition include, but are not

    limited to, the following, listed here in chronological order:

            a)    L. Sinclar, J. Gerlovich, et al, South Carolina Statewide Science
                  Safety Project, Journal of the South Carolina Academy of Science,
                  Vol. 1, Issue 1, Article 5, January 1, 2003, and Literature cited
                  therein.

            b)    Jack A. Gerlovich, et al, National Science Teachers Association,
                  NSTA WebNews Digest, “National School Science Safety Indexing
                  Project: A Beginning”, August 26, 2005, and Literature cited therein.

            c)    James A. Kaufman, Ph.D., Laboratory Safety Institute “Laboratory
                  Safety and Teacher Certification,” undated.

            d)    National Council on Teacher Quality, “The All-Purpose Science
                  Teacher: An Analysis of Loopholes in State Requirements for High
                  School Science Teachers”, December 2010.

            e)    June 13, 2011, American Chemical Society, Chemical and
                  Engineering News, Safety Zone Blog, letter from Robert H. Hill, Jr.
                  June 13, 2011.

            f)    James A. Kaufman Ph.D., Safety as a Second language” in NSTA
                  WebNews Digest, April 9, 2013.

            g)    C.M. Ezrailson, “Danger in the School Science Lab: Are Students
                  at Risk?”, Proceedings of the South Dakota Academy of Science,
                  Vol. 92, p.149 (2013) and Literature cited therein.

            h)    March 20, 2014 Jean Delfiner, American Chemical Society,
                  Chemical and Engineering News, comment Re: “Safety Alert: The
                  Rainbow Demonstration.”

    46.     Defendants knew, or in the exercise of reasonable care should have

    known, that adequate teacher training, education and certification was and is

    lacking in the United States and that teachers could not be relied upon to safety

    handle and use their hazardous product methanol in classroom environments.

    47.     Because of the hazards involved with methanol when used for fueling

                                              19
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 20 of 36




    alcohol burners, many school districts and educational authorities, prior to June

    2014, banned the use of alcohol burners in schools.

    48.     Alcohol burners were and are banned from many schools, for example,

    throughout the Maryland Public Schools and the New York City Department of

    Education, because of the very same hazardous properties of methanol that

    resulted in the incidents of classroom methanol explosions and fires described in

    paragraph 45, above and in the injuries to the plaintiff Dominic Gene Vargas

    alleged herein.

    49.     Defendants knew or in the exercise of reasonable care should have

    known of the banning of alcohol burners in many schools due to the same

    hazardous properties that resulted in the injuries to the plaintiff Dominic Gene

    Vargas.

    50.     The use of methanol in high school classrooms is completely

    unnecessary for the delivery of a satisfactory curriculum top level college

    preparatory. Stated another way, a competent, completely satisfactory high

    school science curriculum can be delivered without any use of methanol.

    51.     The gratuitous and unnecessary nature of methanol in high school

    classrooms is demonstrated by, among other evidence, the complete ban of

    methanol in all school district facilities by Colorado Springs School District 11, by

    Safety Standard “Prohibited Use of Methanol (Methyl Alcohol)”, which states in

    part: “School District 11 prohibits the presence or use of this chemical in any

    school or district owned building.”

    52.     The worldwide trade organization for the methanol industry is the


                                             20
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 21 of 36




    Methanol Institute.

    53.     The Chief Executive Officer of the Methanol Institute, Greg Dolan,

    speaking in his official capacity, made the following statement for inclusion in a

    public statement by the United States Chemical Safety Board: “Like gasoline,

    methanol is a toxic and flammable chemical and should only be handled in

    appropriate settings, and that would certainly not include museums and

    classrooms.”

    54.     Prior to September of 2014, there was a history of safety recalls of

    consumer products compromised of ethanol, which is comparable to but less

    volatile and less hazardous than methanol.

    55.     The reasons for the recall of such products comparable to methanol

    included knowledge and recognition of the exact same hazards that exist with

    methanol, mainly very high volatility and the tendency to flash back into a

    container and produce a flame thrower effect.

    56.     On April 24, 1991, the United States Consumer Product Safety

    Commission announced that, in cooperation with the CPSC, a company named

    LanTec, Inc. was recalling approximately 100,000 32-ounce bottles of alcohol-

    based Eco-Lite Charcoal Starter. The CPSC announcement stated:

            … The product is much more flammable than ordinary charcoal
            lighter fluid and, if used or handled improperly around an ignition
            source, can be dangerous.

            Eco-Lite Charcoal Starter is an alcohol-based product that burns
            faster than other charcoal lighter fluids which are petroleum-based.
            The product may flash back to the bottle and explode if it is sprayed
            over hot charcoal. …

            The reason for the problem is that Eco-Lite is made of alcohol and

                                             21
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 22 of 36




            has a low flash point.

    Eco-Lite was 80% Ethanol, 3% Methanol, 8% Isopropanol, and 1% Methyl

    isobutyl Ketone. The MSDS stated that Eco-Lite had a closed cup flash point of

    66° F. The CPSC found the flash point to be 56° F.

    57.     On June 22, 2011, the United States Consumer Product Safety

    Commission announced a voluntary recall by Napa Home and Garden of

    NAPAfire and FIREGEL Gel Fuel bottles and jugs. The gel fuel was an ethanol-

    based product. The CPSC announcement identified the hazard as: “The pourable

    gel fuel can ignite quite unexpectedly and splatter onto people and objects

    nearby when it is poured into a fire pot that is still burning. This hazard can occur

    if the consumer does not see the flame or is not aware that the fire pot is still

    ignited”.

    58.     On September 1, 2011, the CPSC announced a voluntary recall by nine

    additional manufacturers of pourable gel fuel for the same reasons.

    59.     On December 27, 2011, the Unites States Consumer Product Safety

    Commission issued its “Fire Pots and Gel Fuel; Advanced Notice of Proposed

    Rulemaking; Request for Comments and Information”. (“ANPR”) “(Federal

    Register, Vol. 76, No. 248, p. 80832-80834, December 27, 2011). The CPSC

    stated: “(The CPSC) has reason to believe that fire pots and gel fuel used

    together may present an unreasonable risk of injury.” The CPSC provided the

    following details:

            As of September 30, 2011, we are aware of 76 incidents involving fire
            pots used with gel fuel that resulted in 2 deaths and 86 injuries. In an
            effort to address this emerging hazard, the CPSC’s Office of
            Compliance and Field Operations initiated several recalls of pourable

                                              22
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 23 of 36




            alcohol gel fuel. To date, 12 voluntary recalls have been announced
            recalling more than 2 million bottles of gel fuel. The products involved
            were alcohol-based gel fuel intended to be used with fire pots.

    60.     Further details in the ANPR explained that the gel fuels were

    approximately 80% alcohol, most commonly ethanol, isopropanol, and ethanol

    isopropanol mixtures. Analysis determined the flash points to be less than or

    equal to 74° F. In describing “hazard scenarios”, the ANPR stated that in 64% of

    all reported incidents, consumers were reportedly in the process of, or had just

    finished, refilling a fire pot when the flame in the fire pot ignited the vapors in the

    fuel container and an explosion resulted. In 36 of the 49 refueling incidents, the

    most seriously injured person was not the person refilling the fire pots.

    61.      The CPSC’s observations contained in the ANPR concerning gel fuels

    identified hazards substantially similar to those presented by methanol and

    manifested in the reported classroom methanol incidents.

    62.      The four-liter bottle in which the methanol that injured Dominic Vargas

    was packaged by the defendants did not include a flame arrestor.

    63.     Flame arrestors prevent the spread of a fire by disrupting the spread of

    vapor ignition, by dissipating the heat necessary to propagate vapor ignition.

    64.     Flame arrestors have been well known in industries involved in handling

    of flammable gasses and liquids for many years, including the manufacture of

    gasoline cans and other containers for flammable substances.

    65.     Flame arrestors have been used in many applications for many years to

    prevent the spread of fires in volatile substances.

    66.     In the application suitable for a four-liter bottle of methanol, a flame


                                               23
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 24 of 36




    arrestor would consist of a screen or screen-like disc just inside the opening of

    the bottle.

    67.     The presence of a flame arrestor would have prevented the ignition from

    propagating into the bottle and would therefore have prevented the

    pressurization of the bottle and spewing of its contents that injured Dominic

    Vargas.

    68.     Incorporation of a flame arrestor into the packaging of methanol would

    have prevented the injuries to Dominic Vargas and the injuries reported in the

    other incidents listed in the Amended Complaint in Tort for Damages in which

    methanol spewed from the bottle.

    69.     The cost of a flame arrestor for a plastic bottle of methanol was a few

    cents per bottle.

                               FIRST CLAIM FOR RELIEF

                        Strict Product Liability vs. All Defendants

    70.     Plaintiffs incorporate by reference paragraphs 1 through 69 of their

    Amended Complaint in Tort for Damages.

    71.     The defendant, Fisher Scientific Company, L.L.C. designed the subject 4-

    liter bottle of methanol, in that it specified the packaging and contents,

    designated the product formulation, promoted, marketed and sold it for

    classroom use in a 4-liter bottle, and directed it to educational classroom use.

    72.     The defendant Fisher Scientific Company L.L.C. was therefore a

    “manufacturer” of the 4-liter bottle of methanol within the meaning of Colorado

    Revised Statute 13-21-401 (1).


                                             24
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 25 of 36




    73.     The defendant Fisher Scientific Company, L.L.C. sold and distributed the

    said 4-liter bottle of methanol to Strive Preparatory and is in the business of

    selling such product for use and consumption.

    74.     Defendant Fisher Scientific Company, L.L.C. was therefore also a “Seller”

    of the product within meaning of C.R.S. 13-21-401 (3).

    75.     Defendant Fisher Scientific Company, Inc. also had actual knowledge of

    the defect in the product in that it knew that methanol is a highly volatile,

    hazardous product especially when around students in a classroom and that its

    presence or use in a classroom was unnecessary.

    76.     The defendant AquaPhoenix Scientific, Inc. manufactured, fabricated,

    packaged and labeled the 4-liter bottle of methanol.

    77.     Defendant AquaPhoenix Scientific, Inc. manufactured, packaged, and

    labeled the 4-liter bottle of methanol according to specifications provided by the

    defendant Fisher Scientific Company.

    78.     The recalls and the CPSC’s concerns over the hazards presented by

    ethanol-based products, and the applicability of those concerns to methanol,

    were known to the defendants, or should have been known to them, had they

    used reasonable care, prior to June 6, 2014.

    79.     Manufacturers of products, including the defendants, as a matter of

    sound and responsible business practice, must acquire and maintain the

    knowledge and understanding of an expert, including the hazards of the product,

    its foreseeable and known uses, including empirically demonstrated uses, the

    environment in which the product is intended to be used, and the benefits or


                                              25
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 26 of 36




    necessity, or lack thereof, of use of its product in such environment.

    80.     Concerning their manufacturer and distribution of methanol, the

    defendants, had they complied with their responsibility as outlined in the

    preceding paragraph, would have been aware of the substance of the facts set

    out in paragraphs 21 through 71 of this Complaint in Tort for Damages.

    81.     As alleged in paragraph above 1, above, on September 15, 2014 the

    plaintiff Dominic Gene Vargas was severely burned by methanol from a 4-liter

    bottle provided by the defendant, Fisher Scientific Company, L.L.C. At the time of

    the injury, a first year chemistry teacher at Strive Preparatory SMART Academy,

    Daniel Powell, was attempting to engage students and generate enthusiasm by

    using small, ignited amounts of methanol. This was similar to what he had done

    on previous occasions in performing a demonstration often referred to as the

    rainbow experiment. Mr. Powell attempted to add methanol from the 4-liter bottle

    to a small flame when the methanol vapor in the bottle ignited, instantly

    pressurized the bottle and projected burning methanol across the room, for a

    distance in excess of ten feet, striking the plaintiff Dominic Gene Vargas.

    82.     The ignited methanol projected violently from the bottle and across the

    room in what Mr. Powell described to investigators as a “flame thrower” effect.

    83.     Although he knew that methanol burned easily, Mr. Powell was

    completely unaware of and surprised by the projection of flaming methanol from

    the bottle and across the room. Thus, Mr. Powell did not fully or adequately

    understand the hazards and danger posed by the methanol.

    84.     Mr. Powell had previously used an open bottle of methanol in the


                                             26
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 27 of 36




    presence of flames without incident.

    85.     Mr. Powell’s supervising teacher, Josh Andert, similarly did not fully or

    adequately understand the hazards and danger posed by methanol, particularly

    that it could ignite in the bottle and produce a “flame thrower” effect.

    86.     Further, had the bottle been equipped with a flame arrestor, the danger of

    which Mr. Powell and Mr. Andert were unaware would have been eliminated.

    87.     The use of methanol by Daniel Powell at the time the plaintiff was injured

    was reasonably foreseeable and was essentially identical to the use of methanol

    in several of the incidents described in paragraph 45, above, with similar results.

    88.     Use or misuse of methanol in classrooms, by intentionally or accidentally

    exposing the vapor to open flames, was at all material times reasonably

    foreseeable to the defendants, and was empirically demonstrated to occur in

    many of the incidents referenced in paragraph 45, above.

    89.     The defendants were, at all material times, engaged in the business of

    selling 4-liter bottles of methanol for use in school classrooms.

    90.     The defendants sold the subject 4-liter bottle of methanol.

    91.     The subject bottle of methanol was defective in that its design,

    packaging, and marketing for use in school classrooms rendered it unreasonably

    dangerous for reasonably foreseeable use in classroom settings.

    92.     The subject bottle of methanol was defective and unreasonably

    dangerous to persons, including students like the plaintiff Dominic Gene Vargas,

    who might reasonably be expected to use or be affected by the bottle of

    methanol.


                                              27
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 28 of 36




    93.     The bottle of methanol introduced into the classroom serious hazards of

    explosion, fire, and severe burns to students, and methanol offered little or no

    benefit when used in classrooms, and was completely unnecessary for delivery

    of an excellent secondary school science curriculum.

    94.     Therefore, the risks of introducing methanol into classrooms by selling it

    for classroom use far out-weighed the benefits, and rendered the 4-liter bottle of

    methanol unreasonably dangerous.

    95.     The extreme volatility and nature of the hazard that accompanied

    methanol in classrooms created a risk of harm to persons that would not

    ordinarily be expected by users or consumers, and was not expected by the

    teacher or the plaintiff in this case.

    96.     Packaging of a product is part of its design.

    97.     The defects in the subject 4-liter bottle of methanol that rendered its

    unreasonably dangerous for sale to schools included, but were not limited to, the

    lack of a flame arrestor at the opening of the bottle.

    98.     Because the hazard of the product could have been substantially

    reduced, and the hazard that resulted in injury to Dominic Vargas could have

    been entirely prevented, by use of a feasible, inexpensive flame arrestor, the risk

    of the methanol packaged without a flame arrestor substantially outweighed the

    benefit, if any, of the product so packaged, and the product was therefore

    unreasonably dangerous.

    99.     As a direct and proximate result of the lack of a flame arrestor, the

    plaintiff Dominic Vargas was injured and the plaintiffs suffered the injuries and


                                             28
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 29 of 36




    damages alleged in paragraphs 103 and 104 below.

    100.   The 4-liter bottle of methanol was defective at the time it was sold by the

    defendant and supplied to Strive Preparatory SMART Academy.

    101.   The 4-liter bottle of methanol was expected to and did reach the user or

    consumer without substantial change in the condition in which it was sold by

    each of the defendants.

    102.   The plaintiff, Dominic Gene Vargas, as a student at Strive Preparatory

    SMART Academy, was a person who would reasonably be expected to use,

    consume, or be affected by the 4-liter bottle of methanol.

    103.   As a direct and proximate result of the defective and unreasonably

    dangerous condition of the 4-liter bottle of Fisher Science Education methanol,

    the plaintiff Dominic Gene Vargas suffered severe and permanent injuries

    including, but not limited to, the following. He was struck by a stream of burning

    methanol on his chest and neck and splattered with burning methanol all over his

    body. He sustained third degree burns to his chest, upper arms, neck, face and

    ears. He sustained severe second degree burns to his face. He suffered second

    and third degree splatter burns to his arms, hands, chest, torso, legs and on his

    back. For treatment of his injuries, Dominic Gene Vargas was transported by

    ambulance to Denver Health Hospital, where he was triaged and sent by

    ambulance to the University of Colorado Hospital Burn Center. He was

    hospitalized for 29 days. He was required to undergo intensive care,

    debridement, skin grafting including xenographs and autografts, multiple

    surgeries, removal of parts of his ears, intubation, sedation, prolonged use of a


                                            29
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 30 of 36




    urinary catheter, oxygen tubes and feeding tubes, bandaging and dressing

    changes, and multiple forms of physical, occupational and other therapy. Dominic

    Gene Vargas suffered extreme and prolonged pain and emotional distress. He

    suffered prolonged open sores, itching and other pain and discomfort. He

    suffered severe anxiety, nightmares, fears and disorientation. During his

    hospitalization, he acquired an infection that was life-threatening. His normal

    activities were severely disrupted. He missed nearly four months of school and

    missed almost an entire season of playing high school football. His ability to

    tolerate normal activities involving exposure to sunlight has been severely

    impaired. His ability to fully enjoy life has been severely impaired in the past and

    in the future. Subsequent to his treatment at the University of Colorado, Dominic

    Gene Vargas has undergone state-of-the-art laser treatments, in an effort to

    reduce some of his scar tissue. He incurred travel expenses for himself and his

    parents to accompany him for these treatments, which are not available in

    Colorado. Some of his medical and travel expenses were incurred after his

    eighteenth birthday and his claims include those expenses. He will likely incur

    additional and such expenses in the future. Due to his injuries, Dominic Gene

    Vargas has severe and permanent scarring and disfigurement of his ears, face,

    neck, upper arms, chest, legs, and in splotches throughout his body and

    extremities. He has suffered, and will continue to suffer, anxiety, humiliation and

    embarrassment. All of his injuries and damages are a direct and proximate result

    of the defective and unreasonably dangerous condition of the 4-liter bottle of

    methanol.



                                             30
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 31 of 36




    104.      Due to the injuries to their son, plaintiff Dominic Gene Vargas, who was a

    minor at the time of his injuries, the plaintiffs Elizabeth Ann Vargas and John

    Adam Vargas incurred medical and related expenses, and other expenses on his

    behalf.

                               SECOND CLAIM FOR RELIEF

                               Negligence vs. All Defendants

    105.      Plaintiffs in corporate by reference paragraphs 1 through 104 of their

    Complaint in Tort for Damages.

    106.      The defendants were negligent by failing to use reasonable care to

    prevent the 4-liter bottle of methanol from creating an unreasonable risk of harm

    to persons who might reasonably be expected to use or be affected by the 4-liter

    bottle of methanol while it was being used in the manner the defendant might

    reasonably have expected.

    107.      The defendants are required to be experts in the properties of their

    product, the hazards posed by the product, the environment into which the

    product is being introduced, the way their product is being used, reasonably

    foreseeable uses of their product and empirical evidence of how its product is

    performing in actual uses, including injuries associated with their product and

    identical products.

    108.      The defendants were negligent in failing to heed the information, set out

    in this Complaint in Tort for Damages, about all of the factors listed in the

    preceding paragraph.

    109.      The defendant Fisher Scientific Company, L.L.C. was negligent in that,


                                              31
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 32 of 36




    despite the information set out in detail in this Complaint in Tort for Damages, it

    specified, marketed, promoted, sold and introduced into classrooms the

    unreasonably dangerous 4-liter bottle of methanol.

    110.     The defendant AquaPhoenix Scientific, Inc. was negligent in that, despite

    the information set out in detail in this Amended Complaint in Tort for Damages,

    it manufactured, produced, packaged, labeled for educational use and supplied

    to defendant Fisher Scientific Company, L.L.C. for distribution and use in

    classrooms the unreasonably dangerous 4-liter bottle of methanol.

    111.     The defendants Fisher Scientific Company, L.L.C. and AquaPhoenix

    Scientific, Inc. were also negligent and failed to use reasonable care in that they

    packaged the methanol in a bottle that did not have a flame arrestor.

    112.     Plaintiff Dominic Gene Vargas was a person whom the defendants

    should reasonably have expected to be affected by the 4-liter bottle of methanol.

    113.     The plaintiff Dominic Gene Vargas suffered injuries, damages and losses

    as a result of the defendants’ negligence, while the 4-liter bottle of methanol was

    being used in a manner the defendant should reasonably have expected.

    114.     The Plaintiffs’ respective injuries, damages and losses caused by the

    negligence of the defendant are more fully set out in paragraphs 103 and 104,

    above.

                               THIRD CLAIM FOR RELIEF

                         Breach of Implied Warranty of Fitness

                     For a Particular Purpose under C.R. S. 4-2-315

                                    vs. All Defendants


                                             32
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 33 of 36




    115.   Plaintiff incorporate by reference paragraphs 1 through 114 of their

    Amended Complaint in Tort for Damages.

    116.   At the time the subject 4-liter bottle of methanol was manufactured and

    sold by the defendants, the following Colorado statute was in force and effect.

           C.R.S. 4-2-315 Implied Warranty-fitness for particular purpose.

           Where the seller at the time of contracting has reason to know any
           particular purpose for which the goods are required and that the buyer is
           relying on the seller’s skill or judgment to select or furnish suitable
           goods, there is, unless excluded or modified under section 4-2-316, an
           implied warranty that the goods shall be fit for such purpose.

    117.   The defendants sold the 4-liter bottle of methanol.

    118.   The defendants impliedly warranted the 4-liter-bottle of methanol to be

    suitable for the particular purpose of foreseeable cases in a high school chemical

    class, including uses involving open flames.

    119.   Defendants’ implied warranty of the 4-liter bottle of methanol for use in a

    high school chemistry class arose from its sale of the product to a school as a

    science school laboratory supply, Fisher Scientific Company, L.L.C.’s inclusion of

    the product on its “Lab Outfitter” recommended list of supplies for a high school

    chemistry class, the defendants overall strategy of marketing the methanol to

    public schools, the use of the brand Fisher Science Education, and other factors.

    120.   Defendant AquaPhoenix Scientific, Inc. endorsed and relied upon the

    activities of Fisher Scientific Company, L.L.C. to recommend and sell its product

    to the ultimate consumer.

    121.   Strive Preparatory relied upon the defendants’ skill and judgment to

    select or furnish the methanol for classroom use.


                                            33
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 34 of 36




    122.    As a high school student, the plaintiff Dominic Vargas is a person who

    was reasonably expected to use, consume or be affected by the 4-liter bottle of

    methanol.

    123.    The 4-liter bottle of methanol was not suitable for the particular purpose

    for which it was warranted because it was unreasonably unsafe for use in a high

    school classroom.

    124.    Defendants’ therefore breached their implied warranty of fitness for a

    particular purpose.

    125.    As a direct and proximate result of the breach of warranty by the

    defendants, the plaintiffs suffered the injuries, damages and losses described in

    paragraphs 103 and 104, above.

    126.    Within a reasonable time after the plaintiff discovered or should have

    discovered the breach of warranty, the plaintiff notified the defendants of such

    breach by filing and serving this Complaint in Tort for Damages.

    127.    By contracting for and collaborating in the design, bottling, packaging,

    labeling sale and distribution of the 4-liter bottle of methanol for use in schools,

    the defendants consciously conspired and deliberately pursued a common plan

    or design to commit tortious acts, i.e. the introduction of the unreasonably

    dangerous product in schools, and breaching their implied warranty of fitness for

    a particular purpose.

    128.    The defendants are therefore jointly liable for the plaintiffs’ damages

    pursuant to C.R.S. 13-21-111.5 (4).

            Wherefore, plaintiffs pray this Court for damages against the defendants,


                                              34
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 35 of 36




    Fisher Scientific Company, L.L.C., and AquaPhoenix Scientific, Inc., jointly and

    severally as follows:

            1) Plaintiff Dominic Gene Vargas prays this Court for damages in an

    amount sufficient to fully and fairly compensate him for his injuries, damages and

    losses as described herein;

            2) Plaintiffs Elizabeth Ann Vargas and John Adam Vargas pray this Court

    for damages in an amount sufficient to fully and fairly compensate them for

    medical and related expenses incurred on behalf of the plaintiff Dominic Gene

    Vargas while he was a minor, and;

            3)     All plaintiffs pray this Court for interest from the date of the injury or

    to the maximum extent allowed by law, costs including expert witness fees and

    deposition expenses, and such other and further relief as the Court may deem

    appropriate.

            PLAINTIFFS DEMAND TRIAL TO A JURY

                 Dated this 21st day of March, 2017



                                          /s/: James A. Cederberg___
                                         James A. Cederberg
                                         Cederberg Law Firm, P.C.
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                                               35
Case 1:16-cv-02425-KLM Document 48 Filed 03/21/17 USDC Colorado Page 36 of 36




    Plaintiffs’ address:

    Dominic Gene Vargas
    1455 South Newton Street
    Denver, CO 80219

    Elizabeth Ann Vargas
    1455 South Newton Street
    Denver, CO 80219

    John Adam Vargas
    5711 Clay Street
    Denver, CO 80221

                             CERTIFICATE OF SERVICE

          I certify that the above and foregoing AMENDED COMPLAINT IN TORT
    FOR DAMAGES was served upon the parties hereto via PACER this 21st day of
    March, 2017, addressed to:

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                                                  _/s/ Ashley Byrd_




                                           36
